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                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION

  UNITED STATES OF AMERICA,                           Case No. 2:20-cr-153

          Plaintiff,                                  MOTION TO SET A NEW TRIAL
                                                      DATE AND PRETRIAL DEADLINES
          vs.                                         AND TO EXCLUDE TIME UNDER
                                                      THE SPEEDY TRIAL ACT
  MURAT SULJOVIC,
                                                      Judge Jill N. Parrish
          Defendant.




        The United States moves to set a new trial date due to the continuance of trial in this case,

and to exclude the intervening time from the calculation of time under the Speedy Trial Act. The

United States respectfully requests a continuance of approximately 120 days and an exclusion of

the intervening period from the calculation of time under the Speedy Trial Act. This will allow

sufficient time for the Defendant to move for a change of plea hearing date, as the parties jointly

anticipate. It will also allow time for the parties to prepare for trial in the event that the

Defendant does not enter a change of plea at the hearing. The United States has conferred with
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Defense counsel. She has conferred with her client and has indicated that she and her client

consent to the United States request.


                                         BACKGROUND

          Defendant was charged by felony information on May 4, 2020 and waived grand jury

presentation. The seventy day period for commencing trial under the Speedy Trial Act

commenced on that date. The court set a trial date for July 20, 2020, which was within that

period.

          At the time of the May 4, 2020 appearance on the felony information, the Court had

entered a general order continuing all jury trial through June 15, 2020 and excluding the

intervening period from the computation of time under the Speedy Trial Act. The Court entered

that order on April 28, 2020. D. Ut. General Order No. 20-012. The court explained in its order

that it was monitoring the state of the health crisis in Utah and the United States. Id. at 2. The

president’s March 13, 2020, National Emergency declaration remains in effect and Utah remains

in a state of emergency under Governor Herbert’s declaration. Id. In addition, the World Health

Organization has advised that the global pandemic is not subsiding. Id. Moreover, “the Judicial

Conference of the United States has found that emergency conditions due to the national

COVID-19 crisis have affected and will materially affect the functioning of the federal courts.”

Id.

          The Court explained:


          The Centers for Disease Control and Prevention (CDC) continues to issue guidance to
          combat the spread of disease, and to promote the health and well-being of the nation.
          The Court is closely monitoring the CDC’s developing guidance as well as various
          directives from all branches and levels of government. Among other things, the CDC
          recommends that all Americans avoid close contact with others (i.e., being within six
          feet) and wear cloth face coverings in public or when around others. These and other
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        measures are in response to increased concerns about the extent of asymptomatic
        transmission of the virus and the potential for the virus to spread through mere
        conversations or breathing, in addition to airborne transmission through coughing or
        sneezing.

        To this date, there are nationwide now over 1,027,000 confirmed cases of Americans
        infected with COVID-19, resulting in over 58,000 deaths. The number of new infections
        in the United States is increasing at a rate of approximately 30,000 new cases every day.
        The State of Utah has, to date, confirmed over 4,300 infections, resulting in at least 370
        hospitalizations and 45 deaths. Worse still, the available evidence suggests difficulty
        tracking the real spread of COVID-19 because significant numbers of infections remain
        undetected due to asymptomatic carriers, varying degrees of symptoms, a lack of
        adequate testing, and other factors.

Id. at 2.

        “After careful consideration of the unprecedented severity of the risks presented by this

national and local emergency to the public, litigants, counsel, court employees, agencies that

support the courts, and judges; and following consultation with appropriate stakeholders,” the

court continued all criminal trials through June 15, 2020, and excluded the time under the

Speedy Trial Act. Id. at 3.

        The Court stated:


        For the reasons stated above relating to the ongoing COVID-19 threat, and for the
        reasons previously discussed in General Orders 2020-09, 2020-010, and 2020-011,
        including the procedural and practical challenges to seating a jury in the midst of the
        COVID-19 pandemic and the Governor’s Stay Safe, Stay Home directive, the period of
        time between May 1, 2020, through June 15, 2020, is hereby EXCLUDED from the
        respective speedy trial calculations for both the return of an indictment and the
        commencement of trial within the District, pursuant to 18 U.S.C. § 3161(h)(7)(A).

        An “ends of justice” exclusion under the Speedy Trial Act is disfavored and “meant to be
        a rarely used tool for those cases demanding more flexible treatment.” [United States v.
        Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).] The Court nevertheless concludes an
        “ends of justice” finding is necessary and appropriate in the District of Utah at this time.
        The expanding number of COVID-19 infections, hospitalizations, and deaths nationally
        and in Utah, demand modifications to court practices to protect public health. Courts and
        court operations are necessarily social operations, involving many people.
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        Mindful of the Court’s constitutional responsibility to continue providing mission-critical
        functions of the federal judiciary – even during the COVID-19 outbreak – the need to
        protect the public health in the midst of the ongoing deadly COVID-19 pandemic
        outweighs the important rights of individual defendants and the public to speedy trials at
        this time. The Court reaches this conclusion after carefully balancing the factors set forth
        in 18 U.S.C. § 3161(h)(7)(B). Specifically, the Court finds that the exclusion of time
        through June 15, 2020, from the respective speedy trial periods, is necessary to protect
        the health and safety of jurors and prospective jurors, court staff and employees, criminal
        defendants, counsel, law enforcement personnel, and the public. In addition, in-custody
        defendants in this District are held at local jails under the direct control of the State of
        Utah and individual counties. The Court is experiencing significant restrictions on access
        to federal defendants during this outbreak. Travel restrictions further impair the ability of
        counsel and witnesses to appear for grand jury proceedings or trial. Beyond that, the
        current environment makes it nearly certain that the Court cannot obtain an adequate
        spectrum of jurors to fairly conduct trials. Moreover, the health risks associated with trial
        are acute. Trial requires that jurors, counsel, parties, witnesses, court personnel, and
        judges all be present in the courtroom in relatively close proximity. Empaneling a jury,
        conducting a trial, and facilitating jury deliberations, all with due regard for health and
        safety, is simply not possible in the physical facilities available to the court. Video and
        audio conferencing, used for hearings, are not available for trials. Counsel’s ability to
        adequately prepare for trial, including locating and consulting with witnesses, and
        defense counsel’s ability to effectively confer with defendants, are also greatly
        diminished under these circumstances.

Id. at 3-4.

        The order further stated that “[j]udges are encouraged to enter speedy trial orders in the

cases over which they preside.” Id. at 5.

        The Court issued another order on June 15, 2020 continuing trials and excluding time

under the Speedy Trial Act. D. Ut. General Order No. 20-017. The order explained, among

other things, that “new daily cases of COVID-19 in Utah continue at sustained, not declining,

numbers” and “the State of Utah has seen in recent weeks a significant acceleration of positive

cases.” Id. at 2. As a result of the pandemic, the court continued criminal jury trials through

August 1, 2020, pending further order of the Court. Id. at 4.

        The court explained:
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        For the reasons stated [in the order] relating to the ongoing COVID-19 threat, and for the
        reasons previously discussed in General Orders 2020-09, 2020-010, 2020-011, and 2020-
        012, including the procedural and practical challenges to seating a jury in the midst of the

        COVID-19 pandemic the period of time between June 15, 2020, through August 1, 2020,
        is hereby EXCLUDED from the respective speedy trial calculations for both the return
        of an indictment and the commencement of trial within the District, pursuant to 18 U.S.C.
        § 3161(h)(7)(A). An “ends of justice” exclusion under the Speedy Trial Act is disfavored
        and “meant to be a rarely used tool for those cases demanding more flexible treatment.”
        [Citing United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).] The Court
        nevertheless concludes an “ends of justice” finding is necessary and appropriate in the
        District of Utah at this time. The expanding number of COVID-19 infections,
        hospitalizations, and deaths nationally and in Utah, demand modifications to court
        practices to protect public health. Courts and court operations are necessarily social
        operations, involving many people.

        Mindful of the Court’s constitutional responsibility to continue providing mission-critical
        functions of the federal judiciary – even during the COVID-19 outbreak – the need to
        protect the public health in the midst of the ongoing deadly COVID-19 pandemic
        outweighs the important rights of individual defendants and the public to speedy trials at
        this time. The Court reaches this conclusion after carefully balancing the factors set forth
        in 18 U.S.C. § 3161(h)(7)(B). Specifically, the Court finds that the exclusion of time
        through August 1, 2020 from the respective speedy trial periods, is necessary to protect
        the health and safety of jurors and prospective jurors, court staff and employees, criminal
        defendants, counsel, law enforcement personnel, and the public. In addition, in-custody
        defendants in this District are held at local jails under the direct control of the State of
        Utah and individual counties. The Court is experiencing significant restrictions on access
        to federal defendants during this outbreak. Travel restrictions further impair the ability of
        counsel and witnesses to appear for grand jury proceedings or trial. Beyond that, the
        current environment makes it nearly certain that the Court cannot obtain an adequate
        spectrum of jurors to fairly conduct trials. Moreover, the health risks associated with trial
        are acute. Trial requires that jurors, counsel, parties, witnesses, court personnel, and
        judges all be present in the courtroom in relatively close proximity. Empaneling a jury,
        conducting a trial, and facilitating jury deliberations, all with due regard for health and
        safety, is simply not possible in the physical facilities available to the court. Video and
        audio conferencing, used for hearings, are not available for trials. Counsel’s ability to
        adequately prepare for trial, including locating and consulting with witnesses, and
        defense counsel’s ability to effectively confer with defendants, are also greatly
        diminished under these circumstances.

Id. at 4-6. The order encouraged judges to enter speedy trial orders in the cases over which they

preside. Id. at 6.
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       On July 20, 2020, this Court entered an order setting a new trial date of August 31, 2020,

and excluded the time from May 4, 2020 until August 31, 2020 from the computation of time

under the Speedy Trial Act, consistent with General Orders 20-012 and 20-017.

       On July 30, 2020, the Court issued another General Order. D. Ut. General Order No. 20-

021, In the Matter of Court Proceedings and Court Operations during the Coronavirus (COVID-

19) Pandemic. The Court explained, among other things, that although “the number of new

infections in the United States generally appears to have stabilized around roughly 60,000 new

cases daily, the State of Utah experienced in July a significant acceleration of positive cases. To

date there are nearly 40,000 confirmed infections in Utah, resulting in more than 2,200

hospitalizations and more than nearly 300 deaths. Worse still, the available evidence suggests

difficulty tracking the real spread of COVID-19 because significant numbers of infections

remain undetected due to asymptomatic carriers, varying degrees of symptoms, a lack of

adequate testing, and other factors.” Id. at 3. However, “mindful that this extended period

without the availability of trials and grand jury proceedings significantly impacts criminal

defendants, civil litigants, and our community[,]” the Court explained that it remained

“committed to increasing the availability of mission-critical services to the community as

expeditiously as conditions permit.” Id. To this end, the Court reiterated the same plan for a

phased reopening initially set forth in its June 15, 2020 General Order. Id. at 3-4.

       The Court excluded time under the Speedy Trial Act and explained:


       For the reasons stated above relating to the ongoing COVID-19 threat, and for the
       reasons previously discussed in General Orders 2020-09, 2020-010, 2020-011, 2020-012,
       and 2020-017, including the procedural and practical challenges to seating a jury in the
       midst of the COVID-19 pandemic the period of time between August 1, 2020, through
       September 1, 2020, is hereby EXCLUDED from the respective speedy trial calculations
       for both the return of an indictment and the commencement of trial within the District,
       pursuant to 18 U.S.C. § 3161(h)(7)(A). An “ends of justice” exclusion under the Speedy
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        Trial Act is disfavored and “meant to be a rarely used tool for those cases demanding
        more flexible treatment.” [Citing United States v. Toombs, 574 F.3d 1262, 1269 (10th
        Cir. 2009)]. The Court nevertheless concludes an “ends of justice” finding is necessary
        and appropriate in the District of Utah at this time. The expanding number of COVID-19
        infections, hospitalizations, and deaths nationally and in Utah, demand modifications to
        court practices to protect public health. Courts and court operations are necessarily social
        operations, involving many people.

        Mindful of the Court’s constitutional responsibility to continue providing mission-critical
        functions of the federal judiciary – even during the COVID- 19 outbreak – the need to
        protect the public health in the midst of the ongoing deadly COVID-19 pandemic
        outweighs the important rights of individual defendants and the public to speedy trials at
        this time. The Court reaches this conclusion after carefully balancing the factors set forth
        in 18 U.S.C. § 3161(h)(7)(B). Specifically, the Court finds that the exclusion of time
        through September 1, 2020 from the respective speedy trial periods, is necessary to
        protect the health and safety of jurors and prospective jurors, court staff and employees,
        criminal defendants, counsel, law enforcement personnel, and the public. In addition, in-
        custody defendants in this District are held at local jails under the direct control of the
        State of Utah and individual counties. The Court is experiencing significant restrictions
        on access to federal defendants during this outbreak. Travel restrictions further impair
        the ability of counsel and witnesses to appear for grand jury proceedings or trial. Beyond
        that, the current environment makes it nearly certain that the Court cannot obtain an
        adequate spectrum of jurors to fairly conduct trials. Moreover, the health risks associated
        with trial are acute. Trial requires that jurors, counsel, parties, witnesses, court personnel,
        and judges all be present in the courtroom in relatively close proximity. Empaneling a
        jury, conducting a trial, and facilitating jury deliberations, all with due regard for health
        and safety, is simply not possible in the physical facilities available to the court. Video
        and audio conferencing, used for hearings, are not available for trials. Counsel’s ability
        to adequately prepare for trial, including locating and consulting with witnesses, and
        defense counsel’s ability to effectively confer with defendants, are also greatly
        diminished under these circumstances.

        Judges are encouraged to enter speedy trial orders in the cases over which they preside.
        Judges presiding over criminal proceedings may take such actions consistent with this
        Order as may be lawful and appropriate to ensure the fairness of the proceedings and
        preserve the rights of the parties – particularly where defendants are detained pending
        trial.

Id. at 5-6.

               On August 26, 2020, the Court issued another General Order. D. Ut. General

               Order No. 20-026, In the Matter of Court Proceedings and Court Operations

               during the Coronavirus (COVID-19) Pandemic. It explained:
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        The Court continues to monitor closely the state of the health crisis in Utah and around
        the nation. President Trump’s March 13, 2020 National Emergency declaration remains
        in effect. Governor Herbert recently declared a new state of emergency on August 20,
        2020, and while restrictions have been imposed and relaxed, new daily cases of COVID-
        19 in Utah continue at concerning numbers. The World Health Organization advises that
        the global pandemic is not subsiding. Globally, over 23,000,000 people have been
        infected, and over 800,000 have died from the disease. Finally, the Judicial Conference
        of the United States has found that emergency conditions due to the national COVID-19
        crisis have affected and will materially affect the functioning of the federal courts.

Id. at 2.


        In addition:


        The Centers for Disease Control and Prevention (CDC) continues to issue guidance to
        combat the spread of the disease, and to promote the health and well-being of the nation.
        The Court is closely monitoring the CDC’s developing guidance as well as various
        directives from all branches and levels of government. Among other things, the CDC
        recommends that all Americans avoid close contact with others (i.e., being 3 within six
        feet) and wear cloth face coverings in public or when around others. These and other
        measures are in response to increased concerns about the extent of asymptomatic
        transmission of the virus and the potential for the virus to spread through mere
        conversations or breathing, in addition to airborne transmission through coughing or
        sneezing.



        To this date, there are nationwide now over 5,600,000 confirmed cases of Americans
        infected with COVID-19, resulting in over 176,000 deaths. Utah has now confirmed
        nearly 50,000 cases, resulting in nearly 3,000 hospitalizations and just under 400 deaths.
        Among other things, the Salt Lake County area has experienced significant outbreaks of
        the virus in many of its jails. The available evidence continues to suggest difficulty
        tracking the real spread of COVID-19 because large numbers of infections remain
        undetected due to asymptomatic carriers, varying degrees of symptoms, a lack of
        adequate testing, and other factors. Some scientific organizations estimate the total
        number of cases in the United States could be as high as ten times the number of reported
        cases. Nevertheless, the daily number of reported new infections is generally trending
        lower both in Utah and throughout the United States.

Id. at 2-3.

               The Court continued all criminal trials through October 1, 2020, and explained:
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   For the reasons stated above relating to the ongoing COVID-19 threat, and for the
   reasons previously discussed in General Orders 2020-09, 2020-010, 2020-011, 2020-012,
   2020-17, and 2020-21, including the procedural and practical challenges to seating a jury
   in the midst of the COVID-19 pandemic the period of time between September 1, 2020,
   through October 1, 2020, is hereby EXCLUDED from the respective speedy trial
   calculations for both the return of an indictment and the commencement of trial within
   the District, pursuant to 18 U.S.C. § 3161(h)(7)(A). An “ends of justice” exclusion under
   the Speedy Trial Act is disfavored and “meant to be a rarely used tool for those cases
   demanding more flexible treatment.” [Citing United States v. Toombs, 574 F.3d 1262,
   1269 (10th Cir. 2009)]. The Court nevertheless concludes an “ends of justice” finding is
   necessary and appropriate in the District of Utah at this time. The expanding number of
   COVID-19 infections, hospitalizations, and deaths nationally and in Utah, demand
   modifications to court practices to protect public health. Courts and court operations are
   necessarily social operations, involving many people.



   Mindful of the Court’s constitutional responsibility to continue providing mission-critical
   functions of the federal judiciary – even during the COVID-19 outbreak – the need to
   protect the public health in the midst of the ongoing deadly COVID-19 pandemic
   outweighs the important rights of individual defendants and the public to speedy trials at
   this time. The Court reaches this conclusion after carefully balancing the factors set forth
   in 18 U.S.C. § 3161(h)(7)(B). Specifically, the Court finds that the exclusion of time
   through October 1, 2020 from the respective speedy trial periods, is necessary to protect
   the health and safety of jurors and prospective jurors, court staff and employees, criminal
   defendants, counsel, law enforcement personnel, and the public. In addition, in-custody
   defendants in this District are held at local jails under the direct control of the State of
   Utah and individual counties. The Court is experiencing significant restrictions on access
   to federal defendants during this outbreak. Travel restrictions further impair the ability of
   counsel and witnesses to appear for grand jury proceedings or trial. Beyond that, the
   current environment makes it nearly certain that the Court cannot obtain an adequate
   spectrum of jurors to fairly conduct trials. Moreover, the health risks associated with trial
   are acute. Trial requires that jurors, counsel, parties, witnesses, court personnel, and
   judges all be present in the courtroom in relatively close proximity. Empaneling a jury,
   conducting a trial, and facilitating jury deliberations, all with due regard for health and
   safety, is simply not currently possible in the physical facilities available to the court.
   Video and audio conferencing, used for hearings, are not available for trials. Counsel’s
   ability to adequately prepare for trial, including locating and consulting with witnesses,
   and defense counsel’s ability to effectively confer with defendants, are also greatly
   diminished under these circumstances.



   Judges are encouraged to enter speedy trial orders in the cases over which they preside.
   Judges presiding over criminal proceedings may take such actions consistent with this
   Order as may be lawful and appropriate to ensure the fairness of the proceedings and
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        preserve the rights of the parties – particularly where defendants are detained pending
        trial. Any motion by a criminal defendant seeking an exception to any provision of this
        Order should be directed to the assigned judge.

Id. at 3-5.

        The United States and the Defendant, through his counsel, have been engaged in

discussions to resolve this case. They believe they have reached terms of a potential plea

agreement. The parties jointly contacted chambers to request a date for a change of plea hearing.

The parties have not heard back from chambers, perhaps because the Court’s individual practices

require the Defendant make the request by motion. The Court’s individual practices further

indicate that the change of plea hearing must take place no later than one week before the

scheduled trial date. At present, the trial date has been continued and no trial date has been set.

        However, a one week period would be insufficient time, should the Defendant change his

mind and decline to enter a change of plea. In that event, the United States will need

approximately ninety days to prepare for trial. This is so in light of the need to seek and obtain

an order pursuant to the Classified Information Procedures Act (“CIPA”), the need to coordinate

and schedule time with out of state witnesses, and for other pretrial motions, including motions

in limine. This materials in this case include sensitive and classified information that may

necessitate protection for purposes of disclosure or use at trial or sentencing. In the United

States experience, litigation over CIPA orders can add significant time to the period. Once the

order in place, there may be litigation over potential exhibits or witness testimony, that may be

curtailed or substituted under CIPA procedures.
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                                          DISCUSSION

       Here, the time between August 31, 2020, and the new trial date should be excluded from

the Speedy Trial Act for the reasons set forth in Order 20-12, 017, and 021, as well as for the

additional reasons set forth below.

       The Speedy Trial Act requires a trial to begin within 70 days of indictment or initial

appearance, whichever occurs later, 18 U.S.C. § 3161(c)(1), and entitles the defendant to

dismissal of the charges (with or without prejudice) if that deadline is not met, § 3162(a)(2).

Certain periods of time, however, are excluded from this 70-day clock. 18 U.S.C. § 3161(h).

Some periods of time are automatically excluded, including periods of delay resulting from the

absence or unavailability of the defendant or an essential witness, § 3161(h)(3)(A), and other

periods of time are excluded only when a judge continues a trial and finds, on the record, that

“the ends of justice served by taking such action outweigh the best interest of the public and the

defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

       The time between August 31, 2020, and the new trial date should be excluded from the

Speedy Trial Act under the ends-of-justice provision, 18 U.S.C. § 3161(h)(7)(A). General Order

No. 20-021, set forth above, explained the difficulties associated with conducting a trial in this

District during the COVID-19 pandemic. The United States requests that the court now make

the necessary individualized findings in this case. As General Order No. 20-021 reflects, the

ends of justice amply justify excludable time here. Pandemic, like natural disaster or other

emergency, grants a court the discretion to order an ends-of-justice continuance. See Furlow v.

United States, 644 F.2d 764, 767-69 (9th Cir. 1981) (volcanic eruption). Here, failure to

continue this case will likely make its completion impossible due to public-health risks and

concerns. In addition to concerns for prospective jurors’ health and the ability of the Court to
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obtain--and maintain--an adequate number of jurors, an ends-of-justice delay is particularly apt

because:

           •       This trial involves witnesses who must travel, putting themselves and others at

                   risk. Specifically, two witnesses are located out-of-state. At least one of the

                   witnesses is far enough that travelling by car or train is not reasonably

                   possible. For the other, it would pose a hardship to travel by car.

                   Accordingly, air travel is the most reasonable means of travel.

           •       Counsel, United States Attorney’s Office personnel, and victim-witness

                   specialists have been encouraged to telework to minimize personal contact to

                   the greatest extent possible. Trial preparation necessarily involves close

                   contact with witnesses, inconsistent with advice from the Centers for Disease

                   Control.

       In addition, due to the restrictions imposed by current public-health concerns –

particularly given the anticipated CIPA restrictions on where restricted information can be

reviewed by counsel – it is it is also unreasonable to expect adequate preparation for pretrial

proceedings or for the trial itself within Speedy Trial Act time limits. Under these unusual and

emergent circumstances, denial of a continuance is likely to deny all counsel reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.


       Accordingly, the United States respectfully requests that the Court enter an order setting

trial for a date approximately 120 days from October 1, 2020, directing the defendant to make

any motion for a change of plea hearing no later than 100 days before trial, and directing the

United States to make a motion pursuant to CIPA at a date no later than 90 days before trial.
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       Opposing counsel indicates she has conferred with her client and that the defendant and

his counsel do not object to this motion.


       Based on the foregoing, the Court should enter a case-specific order finding excludable

time under 18 U.S.C. § 3161(h)(7)(A)




Dated: August 31, 2020
                                                   Respectfully submitted,

                                                   s/Carl D. LeSueur
                                                   CARL D. LESUEUR
                                                   Assistant United States Attorney
